Case 2:05-cr-20242-.]PI\/| Document 12 Filed 07/28/05 Page 1 of 2 Page|D 15

F\LED BY _,.__ D.C.
UNITED STATES DIS'I`RICT COURT

WESTERN DISTRICT 0F TENNESSEE 05 JUL 23 m \|: 21
Western Division
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UNITED sTATEs 0F AMERICA Cl£RK, U.S r`E‘STR*$T COURT
win O? in z~!,t:aPH&S
-vs~ Case No. 2:05cr20242-001Ml

GENO BROWNLEE

 

ORDER OF DETENT|ON PENDING TRIAL
FlND|NGS
In accordance With the Bail Reforrn Act, 18 U.S.C. § 3142(f), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant makes no application for release at this time. A motion for conditions
of release and a detention hearing may be filed ata later date.

DlRECTlONS REGARD|NG DETENT|ON

GENO BROWNLEE is committed to the custody of the Attorney General or his designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal. GENO BROWNLEE shall be afforded a reasonable opportunity for private
consultation With defense counsel On order of a Court of the United Statcs or on request of an attorney for the
government, the person in charge of the corrections facility shall deliver the Defendant to the United States marshal for
the purpose of an appearance in connection with a Court proceeding

;1
Date: July 22, 2005 L';>W ZL_

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

This document entered on the docket shea/ti compliance
with mile 55 and/or az(b) Fnch on zng “OS/

 

 
 

UNITED sTATE ISTRIC COURT - WESTERN D's'TRCT OFTENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 2:05-CR-20242 Was distributed by faX, mail, or direct printing on
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Honorable J on McCalla
US DISTRICT COURT

